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     Alternatives to the Phase 3 Facility Program




                             Prepared by




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                           August 14,2020




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Introduction

On January 4, 2017,Sheriff Gusman,and the then Orleans Parish Prison Compliance Director Gary
D. Maynard,submitted a Supplemental Compliance Action Plan that was accepted by Magistrate
J udge Michael North and Judge Lance M. Africk. That plan envisioned three key steps to address
the mental health needs of the then Parish inmate population:

   1. Required the City to construct and operate a new facility with 89 jail beds and 14 infirmary
      beds for a total of 103 beds. Known as the Phase 3 facility, it would accommodate only
      male and female inmates with acute and sub-acute mental health disorders. The
      infirmary would accommodate inmates with medical conditions that were then being
      treated by the UMC.

   2. The small number of juveniles(10-20) charged as adults now being housed in the Orleans
      J ustice Center(OJC) would be transferred to a newly constructed wing at the Youth Study
      Center (YSC).

   3. Explore the option of using the Temporary Detention Center(TDC)to house the overflow
      general population. This would be accomplished by renovating the TDC building(s) to
      temporarily house up to 200 minimum and medium custody if so needed due to space
      limitations.

In the months immediately prior to January 4, 2017,the inmate population was as high as 1,650
and the plan envisioned a decline in the inmate population to 1,400 by 2019 based on projections
made by the JFA Institute.

However, since the issuance of this plan, conditions have changed within the OJC which have
increased the City's compliance with the requirements of the Consent Decree as outlined below:

   1. The current jail population is about 840 or approximately 560 below the number
      projected for 2020 in the plan submitted to the court in 2017.

   2. With the exception of approximately 17-20 acute mental health prisoners housed at Hunt
      and approximately 40 work release inmates now housed in the TDC, all of the remaining
      inmates are now housed in OJC and receiving medical and mental health services.

   3. Significant progress has been made in reaching compliance with the Consent Decree with
      a major hurdle being insufficient security staff to operate the OJC.

   4. The City and its criminal justice partners (Sheriff, District Attorney, Public Defender and
      the Courts) have been awarded two multi-million dollar MacArthur Foundation Safety
      and Justice Grants (SJC) based on an application submitted by the City to further reduce
      the prison population.



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  5. That grant is also providing funding for a mental health jail navigator position which will
     serve to reduce the number of inmates with acute and sub-acute illnesses admitted to
     the jail each year by 20%.This position will be housed at the OJC and administered by the
     Metropolitan Human Services District. Its activities are being actively supported by the
     OPSO, Wellpath and Tulane School of Medicine.

  6. All of the patients assigned to sub-acute and step down mental health status are now
     housed in the OJC and are being treated on a regular basis by the Tulane School of
     Medicine and the Wellpath health group.

  7. The preliminary total project costs for Phase 3 facility are projected at over $51 million
     with an annual operating cost of over $8 million per year.'

  8. The wing at the Juvenile detention center has been completed and can accept the
     juveniles now housed in the OJC. Once this transfer occurs, the 60 bed OJC Pod 2C will
     be vacant.

  9. The completed renovation of the TDC which will allow for the Hunt patients to be
     transferred to the TDC and the females with significant mental health issues to be
     transferred out of the 60 bed Pod 3D in OJC, once the OPSO properly staffs the facility.

  10. Completion of the TDC renovation increases the total jail bed capacity to 1,731 with
      approximately 840 inmates (see Figure 1). While there will be some increase in the
      inmate population this year, the longer term projection is that it will remain well below
     900 people as additional reforms are implemented with the continued financial support
      of the John D. and Catherine T. MacArthur Foundation's SJC program.




Total project costs are $51 million include so called construction and "soft" costs.


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                       Figure 1. Orleans Parish Jail Population and Bed Capacities
                                     January 2015 - August 11, 2020
         2,500
                                                                                                                                                  1,761 Beds


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                       —OJC Bed Capacity                      —Actual ADP                    —Total Beds                 —Projected ADP




Due to these developments, we have been asked to provide expert opinions on the previously
proposed 20194th Floor Retrofit plan and recommend a new one that will achieve the following
objectives:

   1. Reach full compliance with the seven year old Consent Decree by the close of 2021;

   2. Avert $51 million in total project costs(construction and soft costs)for the Phase 3facility;
      and,

   3. Eliminate the estimated $8 million operating costs for the Phase 3 facility.

Previous 2015 OJC Renovation Proposal

The City had previously suggested in 2015 an option that would consist of renovating three pods
on the 4th Floor of the OJC in lieu of constructing a Phase 3 facility. The Monitors in a document
dated January 5, 2016 opined that the City should not attempt to renovate the 4th Floor claiming
that it would not provide sufficient space for the then 1,500 inmate population. Rather they
stated that nearly 1,827 beds would be needed since they did not believe the jail population
could be reduced like it has. They also recommended that the TDC could be substituted for the
proposed Phase 3.



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   "Do not renovate TDC to provide for acute mental health and step-down care because of
   the costs associated with a "temporary" building— UNLESS a Phase III is not constructed. If a
   Phase III is not constructed,funds to renovate TDC appear to be the only option to gain the
   beds space required for state and constitutional care."(2016, p.13).

Former Compliance Director Hodge, through his attorney, submitted a letter March 4, 2019 to
J udges Africk and North rejecting the option of renovating the 4th Floor as originally proposed in
2015. The one single reason for this opposition to an OJC renovation was stated as follows:

       "The City's third proposal, retrofitting the fourth floor of the OJC, is similarly problematic.
       Director Hodge has serious concerns that the construction activities would severely
       disrupt progress that has been made during his time as Compliance Director and could
       pose a security threat to the inmates and staff that work in the OJC".

In this report,three new options to the Phase 3facility are presented that allow the mental health
and medical requirements of the Consent Decree to be fully met within 12 months and at costs
well below the Phase 3 construction and operating costs.

Completed TDC Renovations

In order for the Phase 3 plan to go forward,former Director Hodge believed it was necessary to
renovate the TDC to temporarily house acute and sub-acute male and female patients at TDC
over at least a three year period while Phase 3 was being designed and constructed. This belief
was grounded in the fact that a) the contractual agreement with the Louisiana Department of
Corrections (DOC) for housing the acute male patients at the Hunt facility was to end in April
2020 and b)the assumption there was no alternative space in OJC to house the 17-20 acute male
patients now at Hunt within OJC while Phase 3 was constructed.

On December 5, 2019, the City Council unanimously voted to set a cap for the total inmate
population at 1,250., The City also proceeded, in response to Judge Africk's order, to renovate
TDC Buildings 1 and 2 to create a new, temporary 61 bed acute mental and medical services
facility(see TDC drawings in Figure 2. The location of the TDC buildings and the entire jail complex
is shown in Appendix A).

One side of TDC Building 1 is designated for the females and provides for 22 beds. The other
portion of Building 1 and all of Building 2 are designated for the males and provides for 36 beds
and 3 temporary isolation cells for a total of 39 beds. The total number of beds for the TDC in
Buildings 1 and 2 is 61. For regular housing purposes, the three isolation cells are not to be
counted. So the total number of usable beds is 58.

Renovation of Buildings 1 and 2 have been completed and the 17-20 Hunt male patients can be
transferred to the TDC once the OPSO, Wellpath and Tulane assign the necessary staff to safely
open and operate the facility. Further, approximately 20 females with mental health issues who
are now housed in the OJC(Pod 3D) will also be transferred to the TDC. The City is also beginning


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to transfer juveniles charged as adults now housed in OJC Pod 2C to the Youth Study Center (YSC).
When the transfers are completed there should be two vacated Pods in the OJC).

                                   Figure 2. TDC Renovation Details




                              Table 1. Renovated TDC Beds by Gender

                                                           Males          Females           Total
          Building 1
            Single                                                  0               3               3
            Double                                                  6               2               8
            Dorms                                                   0              15               15
            Isolation                                               1               0               1*
          Building 2
           Single                                                   0               0               0
            Double                                                 12               0               12
            Isolation                                               2               0               2*
          Total Cells                                              18               5               23
          Total Single Cells                                        0               3                3
          Total Double Cells                                       18               2               20
          Dorms                                                     0              15             15
          Total Beds                                               36            22*             58*
          % of Cells that are Single                              0%            60%              13%
          % Beds that are Single                                  0%             14%              5%
       *The isolation cells are not defined as regular housing beds and not included in the total count.




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There have been no formal estimates provided by the Sheriff of the additional security staff that
will be needed to operate these four housing units in TDC Buildings 1 and 2. However, assuming
there will be a need for three officers for each of the four units posted seven days per week, 24
hours per day, it can be estimated that at least 63 additional security staff will be required to
safely operate the TDC at an estimated cost of approximately $3 million per year.

These additional security costs could be reduced only if the Sheriff closes OJC Pods 2C and 3D
and transfers those assigned staff to the TDC units. There will be no additional mental health
costs as the Hunt Wellpath and Tulane positions will be simply transferred to the TDC.

The capital and estimated operating costs for the expanded use of the TDC are summarized in
(Table 2). Offsetting these costs would be the $1.1 million savings in the terminated contract
 with the DOC to house the Hunt inmates.




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            Table 2. Renovation of TDC Construction and Estimated Operating Costs
                                          2020-2023

                               Cost Item                                       Cost
           Renovation Costs
      1.   Construction Costs                                         $5.7 million one time
      2.   "Soft" Costs (e.g., professional fees, testing, etc.)             $800K
      3.   Total Project Costs                                            $6.5 million
           Annual Operational Costs
      4.   Additional Security Staff                                   $3 million per year
      5.   Maintenance Costs @ 5% of Budget                            $200,000 per year
      6.   Total Annual Operational Costs                                 $3.2 million

The renovation of the TDC actually allows for three options to be considered that if implemented
would negate the need for the Phase 3 facility which has an estimated $43.5 million construction
cost, another $7 million in "soft costs"(or a total project costs of about $51 million), an $8 million
annual operating cost, and a three year timeframe to complete. What follows below are
descriptions of the current acute, sub-acute, and step-down populations and the three
alternatives to the Phase 3 facility programs and each options costs (construction and operating)
and timeline for completion.

Current Restricted Inmate Populations

To understand these options, one must understand the current number of patients classified as
acute and sub-acute mental health mental inmates; how they are being treated and housed in
OJC and Hunt; and, how the renovated TDC can be used to facilitate the renovation work with
minimum disruption and within 12 months.

As of July 3, 2020 there were a total of 835 inmates in the OPSO (Appendix B). Only 776 were
housed in the 1,438 bed OJC. All acute, and sub-acute, and step down patients were being
housed and treated within the OJC with the exception of 17 acute male patients at the Hunt
facility (Table 3). A more recent snapshot of the jail population taken on August 11, 2020 shows
about the same inmate population but changes in the counts for some of the OJC Pods. For
example, Pods 1C and 1F are vacant and Pod 2D where only a handful of juveniles were housed
now has male inmates. This would suggest that some portions of the OJC Housing Plan have
been altered by the OPSO. Adjustments may need to be made to the proposed options presented
here in terms of the locations of the male sub-acute, male step-down and juveniles charged as
adult populations.

As of July 3, 2020, within the OJC there were 33 sub-acute male patients in OJC Pod 2A with 30
cells and 60 beds (double bunked). This and all of the other population designations discussed
throughout the report are based on the OJC Housing plan that was last provided in October 2018.
The housing plan may well have changed so this analysis may need to be accordingly adjusted.



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There were another 46 male patients in the 60 bed/30 cell OJC 3B Step-Down unit. These are
 patients whose mental health conditions do not require any special housing restrictions but are
not yet prepared to enter the general population. The unit functions like a general population
unit with a capacity of 60 beds. Finally, there are 18 female patients in OJC Pod 3D. These
 patients reflect a wide array of mental health conditions although only a few are labeled as acute
(less than ten).

       Table 3. Current Housing Plan and Inmate Population as of July 3, 2020 at Hunt and
                                     OJC rd and 3rd Floors'

Housing Cells          Beds         Current                               Mission'
   Unit                             Count
Hunt                                    17        Male Acute
  Floor 2
    A     30              60            33        Male Sub Acute
    B     30              60            18        Male Protective Custody
    C     30              60            13        Juveniles Charged as Adults
    D     30              60            51        General Population/Low/Medium Security
    E     30              60            47        General Population/Medium/High Security
    F     30              60            52        General Population/Medium/High Security
Floor 3
    A     30              60            53         General Population/High Security
    B     30              60            46         Mental Health Step Down
    C     30              60            4          Disciplinary
    D     30              60            18         Females- Mental Health and General Population
    E      30             60            22         Females-General Population
    F      30             60            20         Females-General Population and Discipline
'Highlighted items denote the populations affected by the three Options
2 Based on October 2018 Housing Plan Provided by OPSO




 Options to Phase 3 Program that Meet Consent Decree Requirements

 This section of the report describes the three options and the basic steps that need to be
 completed, and the estimated timeframe for completion. The resulting housing plan that is
 envisioned for each option is also shown.

 Option 1: Retain TDC as a Long-Term Facilityfor Acute Males and Acute/Sub-Acute Females and
 Renovate OJC Pod 2C to Accommodate the Sub-Acute Males in OJC Pod 2A.

 In this option, the current renovated TDC facility will be used indefinitely. As noted earlier the
 Monitors have stated that this would be an acceptable option if Phase 3 could not be built.




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For this to happen the City would have to purchase the TDC facility from FEMA. It is not known
what that cost would be but the preliminary estimate is $2.7 million for the TDC facility which
consists of five buildings.


As described above, both the acute males assigned to the Hunt facility and the acute/sub-acute
females would be transferred to the TDC. What is lacking is renovated space for the 30-35 sub-
acute males now assigned to Pod 2A.

To address that issue, we recommend that OJC Pod 2C be renovated. The removal ofthe juveniles
from Pod 2C allows that vacated unit to be renovated at an estimated cost of $3 million over a
six month time frame. Once that renovation is completed, the sub-acute inmates now housed in
OJC Pod 2A would be relocated to Pod 2C.

Pod 2A would be closed and security staff assigned to that unit would be re-assigned to Pod 2C
(see Table 4 and Appendix A):

                      Table 4. Option 1 Housing Plan When Completed'

      Housing Unit     Cells       Beds     Mission
      OJC
      Floor 2
             A         30          60       Vacant
             B         30          60       Male Protective Custody
             C         27          39       Male Sub-Acute
             D         30          60       General Population/Low/Medium Security
             E         30          60       General Population/Medium/High Security
              F        30          60       General Population/Medium/High Security
      Floor 3
             A         30          60       General Population/High Security
             B         30          60       Male Step Down
             C         30          60       Disciplinary
             D         30          60       Vacant
              E        30          60       Females-General Population
              F        30          60       Female - General Population and Discipline
      TDC
      Bldg. 1
        Side A         5           22       Female Mental Health/Medical
        Side B         7           13       Male Acute
      Bldg. 2
        Side A         7           13       Male Acute
        Side B         7           13       Male Acute
      Bldg. 3          0           60       Vacant


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     Bldg. 4               0                60          Trustees
       1 Highlighted 'terns denote the populations affected by the option.


Under this option additional security staff will be required as described earlier (about $3 million
per year). There are no additional Wellpath or Tulane staffing requirements. However, Wellpath
and Tulane staff would have to walk or be transported on a daily basis to the TDC facility from
their administrative offices in OJC. This option could be completed within 9 months including
analysis of design, procurement, and construction.

Option 2: Renovate TDC Buildings 3 and 4 to Accommodate the 33 OJC Sub-Acute Males in OJC
Pod 2A

This option would also require the City to purchase TDC from FEMA at an estimated cost of $2.7
million. The City would then renovate buildings 3 and 4 in the identical manner that Building 2
was renovated to mimic the requirements for male patients. These units would be used to house
the 33 male sub-acute patients now housed in OJC Pod 2A. In essence, TDC becomes a version
of Phase 3 with all male and female,subacute and acute patients housing in a single facility. Again
the Monitors have stated this would be an acceptable option if Phase 3 could not be constructed.

The current 25 trustees and minimum security inmates housed in the TDC would be transferred
to the 4th Floor minimum security Pods in OJC.

There would be no need to renovate any portion of the OJC

Additional security staff would be needed to operate Buildings 3 and 4 similar to the staffing
levels for Buildings 1 and 2 at an additional cost of $3 million per year or a total of $6 million per
year. There are no additional Wellpath or Tulane staffing requirements. However, Wellpath and
Tulane staff would have to walk or be transported on a daily basis to the TDC facility from their
administrative offices in OJC. There may be a need to build out administrative support staff for
Wellpath and Tulane staff to avoid the need to be transported back and forth between OJC and
TDC.

This option could be completed within 12 months including analysis of design, procurement,
and construction.(See Table 5 and Appendix A):

Option 3: Renovate OJC Pods 2A, 2C and 2D and Close TDC When Completed

The overall goal of this plan is to concentrate the location of all acute, sub-acute, and step-down
inmates, male and female, on the 2nd Floor of the OJC. In this option Pods 2A, 2C and 2D are
renovated at an estimated cost of $3 million per Pod or a total of $9 million. There is no
requirement to purchase the TDC facility as it would be closed within a year. This option would
place all mental health inmates on the OJC 2nd floor with the medical clinic thus allowing efficient
access and treatment to the patients.



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In this option there are no additional security, medical or mental health requirements as all three
OJC Pods are currently staffed. Further there are no issues with staff or inmates needing to be
transported between OJC and TDC.




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                          Table 5. Option 2 Housing Plan When Completed

       Housing Unit         Cells           Beds                          Mission'
                                                        OJC
       Floor 2
             A                   30            60       Vacant
             B                   30            60       Male Protective Custody
             C                   30            60       Vacant
             D                   30            60       General Population/Low/Medium Security
             E                   27            60       General Population/Low/Medium Security
             F                   30            60       General Population/Medium/High Security
     Floor 3
             A                   30            60       General Population/High Security
             B                   30            60       Male Step-Down
             C                   30            60       Disciplinary
             D                   30            60       Vacant
             E                   30            60       Females-General Population
             F                   30            60       Female - General Population and Discipline
                                                        TDC
     Bldg.;,1
          Side A                    5          22       Female Mental Health/Medical
          Side'B                    7          13       Male Acute
     Bldg. 2
          Side A                    7          13        Male Acute
          Side B                    7          13        Male Acute
     Bldg. 3
          Side A                    7           13       Male Sub-Acute
          Side B                    7           13       Male Sub-Acute
     Bldg. 4
          Side A                    7           13       Male Sub-Acute
           Side B                   7           13       Male Sub-Acute
      'Highlighted items denote the populations affected by the option.


The re-purposing some cells for one-one interviews and treatment will reduce the need for
security escort services but could increase the need for in-pod deputies. There may be a need for
additional in-Pod deputies for OJC Pod 2D where general population people were being housed
as of July 3, 2020.

This option could be completed within 12 months including analysis of design, procurement and
construction. Table 6 shows the housing plan for this option when completed. Appendix A shows
the affected locations of this option.




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                           Table 6. Option 3 Housing Plan When Completed

     Housing Unit         Cells             Beds      Mission'
                                                       OJC
     Floor 2
            A             27               39         Female — Mental Health/Medical
            B             30               60         Male Protective Custody
            C             27               39         Male Sub-Acute
            D             27               39         Male Acute
            E             27               60         Male Step-Down
            F             30               60         General Population/Medium/High Security
     Floor 3
            A             30                60        General Population/High Security
            B             30                60        General Population/Low/Medium Security
            C             30                60        Disciplinary
            D             30                60        General Population/Low /Medium Security
            E             30                60        Females-General Population
            F             30                60        Female - General Population and Discipline
                                                    TDC Vacant
       I Highlighted items denote the populations affected bythe option.


Renovation Sequence

In this section of the report we describe the various steps that need to be completed and the
timing of each step.

Option 1 Sequence - Open TDC, Renovate OJC Pod 2C. Close Pod 2A

       Step 1. Open Renovated TDC and Transfer Femalesfrom OJC 3D and Hunt Inmates to TDC
       Buildings 1 and 2(Completed by Summer 2020)

       Females now housed in OJC Pod 3D with mental health illnesses will be transferred from
       their current location to TDC. This will vacate the OJC Pod 3D unit. Hunt inmates will be
       transferred to TDC.

       Step 2. Transfer ofJuvenilesfrom OJC Pod 2C(Completed Summer 2020)

       Transfer juveniles in 2C to the Youth Study Center by July 30, 2020 to vacate the Pod and
       ready it for renovation.

       Step 3. Renovate Vacated OJC Pods 2C(Completed by Spring 2021)



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      The renovation work on OJC Pod 2C would proceed as follows:

          Main Level
             1. Repurpose two of the 15 cells for one on one interviews and one other cell for
                office supplies;
             2. 12 remaining cells will have double bunk capacity.
             3. Install unit nurse station on the floor for direct observation.
            4. Install new cell doors with top and bottom vision panels and floor-to-ceiling
                 vision panels in the cell front walls, similar to the TDC and Phase 3 cells.
          New Capacity of24 beds.

      Mezzanine Level
            1. Convert 15 of 15 cells to single bed cells.
            2. Install new doors with top and bottom vision panels and floor-to-ceiling vision
                panels in the cell-front walls, similar to the TDC and Phase 3 cells.

          New Capacity of15 beds.

          Install mezzanine walkway edgefloor-to-ceiling jump security barrier.

          Total OJC Pod 2C Capacity — 39 beds

   Step 4. Transfer Male Sub Acute Patientsfrom OJC 2A to Renovated OJC Pod 2C Spring 2021)

   Once OJC Pod 2C is renovated,the sub-acute male patients in OJC Pod 2A can be transferred
   to the renovated OJC Pod 2C. At this point OJC 2A is vacant and can be closed.

Option 2 Sequence - Renovate TDC Buildings 3 and 4. No Renovations to OJC

      Step 1. Open Renovated TDC and Transfer Femalesfrom OJC 3D and Hunt Patients to TDC
      Buildings 1 and 2(Completed by Summer 2020)

      Females now housed in OJC Pod 3D with mental health illnesses will be transferred from
      their current location to TDC. This will vacate the OJC Pod 3D unit. Hunt inmates will be
      transferred to TDC.

      Step 2. Renovate TDC Buildings 3 and 4(completed by Summer 2021).

      Over the next 12 months Buildings 3 and 4 would be renovated to accommodate the 33-
      35 male subacute population that is now housed in OJC 2A. Once that is completed the
      inmates can be transferred to TDC Buildings 3 and 4. OJC Pods 3C, 2A and 2C can be
      closed.



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Option 3 Sequence - Renovate OJC Pods 2A, 2C, and 2D and Close TDC

      Step 1. Open Renovated TDC and Transfer Femalesfrom OJC 3D and Hunt Inmates to TDC
      Buildings 1 and 2(Completed by Summer 2020)

      Females now housed in OJC Pod 3D with mental health illnesses will be transferred from
      their current location to TDC. This will vacate the OJC Pod 3D unit. Hunt inmates will be
      transferred to TDC.

      Step 2. Transfer Male General Population Low Medium Security Inmatesfrom OJC Pod 2D
      to vacated OJC Pod 3D (Complete by Summer 2020)

       In order to reach the goal of concentrating all of the acute, sub-acute and step-down
       inmates on the 2nd Floor we will want to transfer the current general population inmates
       now housed in Pod 2D to the now vacant Pod 3D. When done Pod 2D can be renovated.

      Step 3. Transfer ofJuvenilesfrom OJC Pod 2C(Completed Summer 2020)

      Transfer juveniles in 2C to the Youth Study Center by July 30, 2020 to vacate the Pod and
      ready it for renovation.

      At this stage Pods 2C and 2D, which are side by side, are vacant and can be renovated at
      the same time.

      Step 4. Renovate Vacated OJC Pods 2C and 2D (Completed by Spring 2021)

       The renovation work on Pods 2C and 2D would proceed as follows:

       Main Level
              1. Repurpose two of the 15 cells for one on one interviews and one other cell for
                  office supplies;
             2. 12 remaining cells will have double bunk capacity.
             3. Install unit nurse station on the floor for direct observation.
             4. Install new cell doors with top and bottom vision panels and floor-to-ceiling
                  vision panels in the cell front walls similar to the TDC and Phase 3 cells.
          New Capacity of24 beds.

       Mezzanine Level
             1. Convert 15 of 15 cells to single bed cells.
             2. Install new doors with top and bottom vision panels and floor-to-ceiling vision
                 panels in the cell front walls similar to the TDC and Phase 3 cells.



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           New Capacity of15 beds.

           Install mezzanine walkway edgefloor-to-ceiling jump security barrier.

           Total OJC Pod 2C and 2D Capacity — 39 beds each or 78 beds Total

           Step 5. Transfer Male Sub Acute Inmatesfrom OJC 2A to Renovated OJC Pod 2C Spring
           2021)

           Once OJC Pod 2C is renovated, the sub-acute male inmates in OJC Pod 2A can be
           transferred to the renovated OJC Pod 2C. At this point OJC 2A is vacant and can be
           renovated.

           Step 6. Retrofit of vacated OJC2A for Female Acute and Sub-Acute Inmates(Completed
           by Summer 2021)

           The final step would be to retrofit OJC 2A which was vacated in the Spring of 2021 The
           renovation would mirror the renovation of 2C and 2D that will provide 39 beds. Once
           completed the female acute and sub-acute patients in TDC Building 1 would be
           transferred to the OJC. At this point TDC would be closed.

Summary of the Three Options

Table 7 summarizes the three options to the Phase 3 facility on a number of key dimensions.

Option 1 is the most expedient but does require a renovation of Pod 2C in OJC and additional
security staff to operate TDC Buildings 1 and 2. It also assumes the long-term use of the TDC and
the costs of purchasing the TDC building from FEMA.

Option 2 eliminates the need to renovate any portion of the OJC but it has significantly higher
annual operating costs for TDC Buildings 1, 2, 3 and 4.

Option 3 is clearly in the best interest of the City. It is superior to Options 1 and 2 as it creates a
more efficient model in terms of jail operations and it is far superior to the Phase 3 plan. Option
3 consolidates all of the acute, sub-acute, and step-down patients on the 2nd Floor where the
medical clinic also exists and is already staffed by OPSO, Wellpath, and Tulane. The renovations
costs are similar to Option 2 but $6 million more than Option 1. However, no purchase of the
TDC buildings is required. The renovations can be completed within a year which is much faster
than the 3 years it will take to complete the design and construction of the Phase 3 building.

 Most significantly, all of the necessary staff (medical, mental health, and security) are already
 budgeted for to the various housing units in the OJC, so there are no additional operating costs
(staff or maintenance) with Option 3. This is significant in terms of reaching compliance with the



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      Consent Decree which has been consistently delayed by insufficient security staff being present
      in the OJC.

      Over a ten year horizon, the Phase 3 facility will consume an additional $85 million in operating
      costs (security and medical staff for the infirmary). Similarly, Options 1 and 2 have less but
      considerable additional security operating costs. There are no additional medical or mental
      health costs with options 1, 2 or 3. All four options provide more than sufficient bed space for
      the projected population of 850 as of December 2020. Even at that number,the jail incarceration
      rate would be about average. The U.S. Jail rate is 226 per 100,000 population while the Orleans
      rate is 215 per 100,000. Many SJC sites are below the 175 per 100,000 rate.

                             . Table 7. Summary of Three Options to Phase 3

       Attribute                 Option 1                   Option 2                      Option 3
TDC                             No Further           Renovate Buildings #3 &       No Further Renovations
                               Renovations                     #4
OJC                          Renovate Pod 2A             No Renovations           Renovate Pods 2A, 2C & 2D
Estimated TDC Purchase         $2.7 million               $2.7 million                      None
TDC Renovation Costs               None                   $6.5 million                      None
OJC Renovation Costs            $3 million                    None                       $ 9 million
Total Renovation Costs        $5.7 million                $9.2 million                   $9 million
Annual Operational Costs
  TDC Security Costs            $3 million                 $6 million                       None
  OJC Security Costs               None                      None                           None
   Wellpath/Tulane Costs           None                      None                           None
Completion Time Frame            6 months                  12 months                      12 Months
Laundry                         Warehouse                  Warehouse                      Warehouse
Infirmary Care                     UMC                        UMC                            UMC




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                       Table 8. Cost Comparison of Phase 3 and Options 1,2 and 3

                  Cost Item                             Phase 3     Option 1     Option 2     Option 3
Current Inmate Population —July 3, 2020                   842         842          842          842
Total Jail Bed Capacity                                  1,527       1,475        1,544        1,375
Projected Inmate Population — December                    880         860          860          880
2020
Current Acute and Sub-Acute Population
   Male                                                     50         50           50          50
   Female*                                                  18         18           18          18
Acute and Sub-Acute Beds
  Male                                                      77        105           116         78
  Female                                                    12        22            22          39
  Total Beds                                                89        127           138         117
Additional Costs
  Capital Costs                                         $51 mil.    $ 5.7 mil.   $ 9.2 mil.    $9 mil.
  Maintenance Costs                                      0.5 mil.   $0.2 mil     $0.4 mil     $0.0 mil.
  Additional Annual Staffing Costs                       $8 mil.     $3 mil.      $6 mil.      $0 mil.
     Security Staff                                     $6.6 mil.    $3 mil.      $6 mil.      $0 mil.
      Infirmary Staff                                   $1.4 mil.   $0.0 mil.    $0.0 mil.    $0.0 mil.
Cumulative Ten Year Additional OPSO                     $85 mil.    $32 mil.     $64 mil.      $0 mil.
Operating and Building Maintenance Costs
   *Assumes all females assigned to OJC 3D will need special care



   Possible Concerns to Option #3

       1. Retrofitting the 2'"floor would cause the loss of too many beds.

           There would be a net loss of 63 beds for the OJC building (from 1,438 to 1,375). This
           number is well above the current system-wide population of 835 inmates, a desired
           operating capacity of 1,169(85% of 1,375) and the City Council's population cap of 1,250.

       2. OJC was not intended for housing people with mental health issues and is not designed
          with appropriate sight lines, particularlyfor people on suicide watch.

           The retrofitted OJC Pods 2A, 2C and/or 2D will replace the cell doors and cell fronts with
           vision panels that are common in other constitutional housing jail and prison units.
           Further, proper staffing of security and mental health staff for these units will be in place
           to ensure a safe and therapeutic setting. Having a larger number of single cells in OJC
           Pods 2A, 2C, and 2D than in the retrofitted TDC or the proposed Phase 3 facility will offer



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   greater flexibility availability for single ceiling of acute and sub-acute patients who require
   such                                                                                  security.

3. There is insufficient spacefor the medical/mental health staff, who would have to cross
   the secure perimeter multiple times per day to access the medical staff
   members/providers.

   There is considerable unused administrative space on the 3rd floor. This space could be
   retro-fitted to make more efficient in its use. The only additional staff being added to the
   current OJC configuration are mental health staff now assigned to Hunt who must be
   transferred to the OJC. There would be some costs associated with the retro-fitting of the
   3rd Floor.



4. There would be little or no spacefor the infirmary.

   We recommend the continued use of fourth floor pods for ambulatory male patients. For
   patients requiring more intensive care, we recommend continuing the current practice of
   sending patients off site. All medical care that requires such services is being handled by
   transferring such patients to the renowned University Medical Center (UMC). With 650
   physicians and more than 2,700 employees, University Medical Center is a leading center
   for treating patients with a wide variety of conditions. It is the only Level 1 Trauma Center
   in the region.

   The City's expert on medical care, Dr. Ronald Shansky, M.D. who has been an expert for
   the U.S. Department of Justice's Civil Rights Division in a number of cases, has opined that
   an infirmary is not required as long as adequate medical care is being directed and
   monitored by the City's Public Health Director.

5. Concerns that the precast cell walls cannot be cut or modified at afeasible cost to allow
   for visibility into holding cells, which is required.

    This plan does not require any cutting or modification of precast cell walls. Existing doors
    will be replaced by new doors with top and bottom vision panels.

    If additional vision panels in the cell front walls are desired, this will be accomplished by
    temporally shoring the cell ceiling, cutting out the desired wall section then installing
    vision panels, up to floor-to-ceiling heights, using structural window frames of a strength
    equal to or more than the structural strength of the precast wall area being replaced. The
    costs for this modification will be far less than the cost of a new cell with front vision
    panels.

6. Mechanical, electrical, plumbing, security electronic, and fire protection systems would
   need to be modified and some equipment would need to be changed and/or added.



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   This plan will require little if any mechanical modifications. There will be electrical
   modifications for the installation of new nurse's stations. Plumbing modifications will be
   the removal of toilets and sinks in cells that are being re-purposed. There will be
   modifications in the security electronics to incorporate desired controls relative to the
   n urse's stations. Minor modifications of the fire protection systems will be done to
   incorporate the new nurse's stations. Modifications and equipment changes will be far
   less than the cost of a cell and its related infrastructure in a new building.

7. Concern that two story mental-health housing units are inconsistent with good practice.

   There is no research that shows two level mental health units are inferior to a single
   level unit in terms of delivery mental health services and/or inmate and staff safety.
   While it might be preferred to have a single level unit, there have been no incidents of
   serious injuries or deaths in the current subacute units at the two tiered level Hunt
   facility. Deployment of the appropriate number of well trained staff where patients are
   escorted to and from their cells will significantly mitigate this risk.

8. Insufficient spacefor two single bunks in a single cell where good health-care corrections
   practice callsfor use of double bunk cells.

   This plan to retrofit the 2nd floor housing units provides for an adequate mix of single cell
   and double cells. In fact, it is providing a larger number of cells than the proposed Phase
   3 facility. Not all persons with acute or sub-acute mental health conditions can or should
   be housed in a double bunk cell. The retrofit plan offers greater flexibility to meet the
   security and treatment needs of the individual inmate.

9. Phase 3 will provide for needed laundry, lawyer visitation, and needed administration
   space.

    The current arrangement of utilizing a private vendor could continue or alternatively, a
    new laundry could be constructed in the kitchen warehouse that does have available
    space.

    The current visitation space in OJC appears to be adequate and should not be a problem
    with a reduced inmate population. The building is a temporary building paid by FEMA
    that may need to be purchased.

    Finally, in terms of administrative space, the current space on the 3rd floor is only 2/3rds
    occupied. It can be built out further to accommodate additional staff although additional
    staff are not needed.

10. To renovate the 2nd Floor there would be a considerable amount of disruption to the 2nd
    Floor causing security issues.



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   A secure construction fence for the second-floor retrofit staging area, exterior
   construction elevator, and badged construction workers entry way, will be installed on
   the site at grade level. A construction elevator will terminate with access into OJC
   through the outdoor exercise area of the pod(s) being retrofitted.

   Secure wall barriers with a secure access, limited vision construction door, will be
   temporarily installed at the pod entry ways. No construction materials or construction
   workers would have access to the continuing operational area of the OJC.

   Any construction activities outside the retrofit areas but within the OJC building, if
   needed, would be scheduled, and coordinated with OJC staff to avoid any disruption.

   The exterior staging area and pod retrofit area will be provided with 24/7 manned
   security coverage.




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         Option 1. Renovate OJC Pod 2C and Use TDC Renovated Buildings 1 and 2




               Option 2. Option 2. Renovate TDC Buildings 3 and 4




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              Option 3. Renovate OK Pods 2A, 2C and 2D. No Use of TDC




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                   Appendix B. OPSO Population as of July 3, 2020

      7/03/2020              Inmate Management System               SIMMONSJOE Pa
      7:05:00               Active Inmates by Location              IM_CNT_PUB IM:

                               Building   Tier   Side    Count

                                 BKG                         3
                               Total for BKG                 3

                                 FED                        13
                               Total for FED                13

                                 HNT                        17
                               Total for HNT                17

                                 OJC      1       A         51
                                 OJC      1       B         49
                                 OJC      1       C         50
                                 OJC      1       E         42
                                 OJC      1       F          5
                                 OJC      2       A         33
                                 OJC      2       B         18
                                 OJC      2       C         13
                                 OJC      2       D         51
                                 OJC      2       E         47
                                 OJC      2       F         52
                                 OJC      3       A         53
                                 OJC      3       B         46
                                 OJC      3       C          4
                                 OJC      3       D         18
                                 OJC      3       E         22
                                 OJC      3       F         20
                                 OJC      4       A         36
                                 OJC      4       B         45
                                 OJC      4       C         43
                                 OJC      4       D         15
                                 OJC      4       E         54
                                 OJC      4       F          9
                               Total for OJC               776

                                 TDC      B4      E          5
                                 TDC      B4      W         20
                               Total for TDC                25

                                 TOC                         1
                               Total for TOC                 1



                               Total All Locations         835




                                                                                     26
